                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY               )
 AND AS ADMINISTRATRIX OF THE                 )
 ESTATE OF TYRE DEANDRE NICHOLS,              )
 DECEASED,                                    )
                                              )
          Plaintiffs,                         )
                                              )
 v.                                           )   CASE NO. 2:23-CV-02224
                                              )   JURY DEMAND
 THE CITY OF MEMPHIS, A                       )
 MUNICIPALITY; CHIEF CERELYN DAVIS,           )
 IN HER OFFICIAL CAPACITY; EMMITT             )
 MARTIN III, IN HIS INDIVIDUAL                )
 CAPACITY; DEMETRIUS HALEY, IN HIS            )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,           )
 IN HIS INDIVIDUAL CAPACITY;                  )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL         )
 CAPACITY; TADARRIUS BEAN, IN HIS             )
 INDIVIDUAL CAPACITY; PRESTON                 )
 HEMPHILL, IN HIS INDIVIDUAL                  )
 CAPACITY; ROBERT LONG, IN HIS                )
 INDIVIDUAL CAPACITY; JAMICHAEL               )
 SANDRIDGE, IN HIS INDIVIDUAL                 )
 CAPACITY; MICHELLE WHITAKER, IN              )
 HER INDIVIDUAL CAPACITY; DEWAYNE             )
 SMITH, IN HIS INDIVIDUAL CAPACITY            )
 AND AS AGENT OF THE CITY OF                  )
 MEMPHIS,
                                              )
          Defendants.                         )


      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS OF THE CITY OF
      MEMPHIS, CHIEF CERELYN DAVIS IN HER OFFICIAL CAPACITY, AND
                DEWAYNE SMITH AS AN AGENT OF THE CITY




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         Defendants the City of Memphis (“the City”), Chief Cerelyn Davis in her Official

Capacity (“Chief Davis”), and Dewayne Smith as Agent of the City of Memphis (“Lt. Smith”)

(collectively, “the City Defendants”), submit this Memorandum in Support of their Motion to

Dismiss Plaintiff Row Vaughn Wells’s (“Plaintiff”) Complaint for Damages under Rule 12(b)(6)

of the Federal Rules of Civil Procedure, for failure to state a claim upon which relief can be

granted.

I.       INTRODUCTION

         This case arises from a tragic encounter between Plaintiff’s son, Tyre Nichols

(“Nichols”), and five rogue police officers that resulted in Nichols’s death. Nichols’s life was

cut short by the actions of these rogue officers, and the City in no way condones, ratifies, or

approves of those actions.

         The primary question that this suit presents, however, is whether the City should be

civilly liable for Mr. Nichols’s death under 42 U.S.C. § 1983. Although this situation is tragic,

the answer is no. It is well settled that § 1983 does not impose liability on the City under a

respondeat superior theory for its employees’ misconduct. Instead, the law requires that

Plaintiff must show that any constitutional harms are directly attributable to the City itself based

on its customs, practices, or policies. Plaintiff, as Administratrix of the Estate of Nichols, failed

to sufficiently plead facts to establish liability under Monell v. Department of Social Services of

the City of New York, 436 U.S. 658 (1978).

         Plaintiff further failed to sufficiently state her individual claims, which are barred by the

Tennessee Governmental Tort Liability Act.

         The Court should dismiss the claims against the City and, respectfully, turn its full

attention to those individuals who are entirely responsible for the death of Mr. Nichols—

Defendants Emmitt Martin III (“Martin”), Demetrius Haley (“Haley”), Justin Smith (“J. Smith”),

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Desmond Mills, Jr. (“Mills”), and Tadarrius Bean (“Bean”) (collectively, “Defendant Officers”).

II.      FACTUAL BACKGROUND

         A.      Plaintiff’s Allegations Regarding the Scorpion Unit
         Plaintiff alleges that in November 2021 Chief Davis—acting under pressure and facing

growing crime rates—formed a special anti-crime policing unit called the Street Crimes

Operation to Restore Peace in Our Neighborhoods (“Scorpion”) Unit. 1 (Compl., ¶¶ 72–73, 76.)

Plaintiff without factual basis describes the Scorpion Unit as employing an aggressive style of

policing in which officers subjected Memphians to pretextual, unconstitutional traffic stops and

searches to find illegal guns and drugs and to address violent crimes. (Id., ¶¶ 78, 87, 90.)

Further, Plaintiff claims that the Scorpion Unit targeted young Black men and operated as a gang

unit with “inexperienced, untrained, and unsupervised police officers.” (Id., ¶¶ 92, 95.) Plaintiff

asserts that Scorpion officers drove unmarked cars and wore black hoodies and masks rather than

traditional police attire. (Id., ¶ 101.)

         Plaintiff claims that there are multiple examples of other community members who

experienced unlawful Scorpion encounters. (Id., ¶ 105.) Plaintiff does not allege when or how

the City was on notice of each of these alleged encounters prior to the incident with Nichols.

         Instead, Plaintiff asserts that the City was on notice of violent, pretextual stops after a

December 2022 Public Safety Committee meeting held by the Memphis City Council in which

local activists complained of pretextual traffic stops, and that Chief Davis and the City Council


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  Plaintiff alleges that Chief Davis and Assistant Chief Shawn Jones worked for the Atlanta Police
Department prior to their tenure in Memphis. Plaintiff claims that in 2006 (seventeen years ago)
Chief Davis was a member of Atlanta’s controversial and disbanded RED DOG unit, which
Plaintiff alleges was a suppression unit similar to the Scorpion unit. (Id., ¶¶ 50-68.) Plaintiff’s
inclusion of the allegations regarding the RED DOG injects irrelevant and scandalous material into
this suit. It strains the bounds of plausibility to suggest that the City adopted the unlawful policies
and practices of a former unit of the Atlanta Police Department that was disbanded twelve years
ago simply by hiring a former officer of that unit. Accordingly, the City separately moves to strike
all allegations related to the Atlanta RED DOG unit.
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turned a blind eye and allowed the Scorpion Unit to continue to violate Fourth Amendment

rights. (Id., ¶¶ 106–09.) Notably, Plaintiff admits that during this meeting, activists discussed

police encounters that occurred years before the formation of the Scorpion Unit and prior to

Chief Davis’s hiring. (See id., ¶ 107, n. 3.)

         Plaintiff asserts that Chief Davis, acting as the final policymaker for the City, appointed

inexperienced officers with past disciplinary issues to the Scorpion Unit, though the examples

Plaintiff used could not have possibly put the City on notice of clearly unconstitutional conduct.

(Id., ¶ 116). Plaintiff claims that the Defendant Officers involved in stopping Mr. Nichols had

previous disciplinary issues, such as rough handling of equipment and failing to fill out

appropriate forms (all of which MPD documented and apparently disciplined). (Id.) Plaintiff

also claims the City relaxed standards for its officer recruits, failed to adopt policies or

specialized training for its officers, and allowed the Scorpion Unit to patrol Memphis without

proper supervision. (See id., ¶¶ 117–138.)

         B.      The Incident Giving Rise to the Lawsuit
         Plaintiff states that around 8:00 p.m. on the evening of January 7, 2023, Nichols left

Shelby Farms Park to return to his home. (Compl., ¶146.) At the same time, Plaintiff alleges

that Defendant Officers Martin, Haley, and Hemphill, were on patrol in unmarked cars. (Id.,

¶147.) According to Plaintiff, around 8:20 p.m. the Officers spotted Nichols driving and called

into MPD Dispatch to run his license plate number. (Id., ¶151.) Dispatch reported that there

were no outstanding warrants. (Id.) Even so, Officers Martin, Haley, and Hemphill allegedly

boxed in Nichols with their patrol cars as he was attempting to make a left turn. (Id., ¶¶ 155–57.)

         Plaintiff alleges that, without any type of reasonable suspicion or probable cause, Officers

Martin and Haley then opened Mr. Nichols’s car door and forcefully pulled him out of the car

while pushing him down, assaulting him, and shouting at him. (Id., ¶¶ 165–67.) Plaintiff


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charges that Officer Hemphill then sprinted out of his car with his gun drawn, escalating the

situation further. (Id., ¶ 171.) Mr. Nichols allegedly questioned why he was being stopped and

attempted to de-escalate the situation to “no avail.” (Id., ¶ 179.) Plaintiff asserts that the officers

then sprayed pepper spray in Nichols’s face at close range. (Id., ¶ 183.) Nichols was able to

momentarily free himself at which time he began to run away from the officers. (Id., ¶ 187.)

         Plaintiff claims Officer Hemphill deployed his taser as Nichols ran from the officers, and

the other officers began a foot chase. (Id., ¶¶ 191, 193.) Officers Martin and Haley apprehended

Nichols, and Plaintiff claims they shoved him to the ground and pulled his hands behind his

back, at which point he was restrained, unarmed, unresistant, and compliant. (Id., ¶¶ 201–02.)

Plaintiff claims that Defendant Officers J. Smith, Mills, and Bean then arrived on the scene and

began to beat Nichols. (Id., ¶ 204.) Plaintiff alleges that for around “seven minutes straight, the

five Scorpion officers punched, kicked, pepper sprayed, and struck Tyre with a baton.” (Id., ¶

208.)

         Plaintiff claims that more officers arrived on the scene but expressed no concern for “the

bloodied, dazed, handcuffed man left alone and barely moving in the street.” (Id., ¶ 224.)

Plaintiff contends that the officers on the scene joked around and acted with indifference to

Nichols’s condition; and Officer Haley went so far as to take a photo of Mr. Nichols after he was

beaten and then circulated the photo. (Id., ¶¶ 227, 232–33.)

         Plaintiff alleges that Lt. Smith, who was a supervisor of the Scorpion Unit, arrived late to

the scene. (Id., ¶ 255.) Once there, Lt. Smith walked to Nichols’s home address where Nichols

lived with Plaintiff. (Id., ¶ 263.) Lt. Smith allegedly told Plaintiff that Nichols was under arrest

for driving while intoxicated and that Nichols was being treated in the neighborhood by

paramedics. (Id., ¶¶ 264–71.) Plaintiff alleges that, though Lt. Smith knew that Mr. Nichols was

in critical condition, he withheld that information from her and misled her about the events that

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allegedly transpired. (See id.)

         Plaintiff states that around 8:40 p.m., three Memphis Fire Department EMTs Robert

Long, JaMichael Sandridge, and Michelle Whitaker, arrived on the scene but failed to render

necessary aid to Mr. Nichols. (See id., ¶¶ 244–46.) At around 8:55 p.m., Nichols was

transported to St. Francis Hospital, where he died three days later. (Id., ¶¶ 254, 289.)

         What is noticeably missing from Plaintiff’s Complaint, however, are several widely

known and indisputable facts that are relevant to Plaintiff’s claims, and of which the Court may

take judicial notice without converting this Motion to Dismiss into a motion for summary

judgment. See, e.g. Greene v. Brown & Williamson Tobacco Corp., 72 F. Supp. 2d 882, 890

(W.D. Tenn. 1999) (“Judicial notice of generally known facts is appropriate when deciding a

motion to dismiss for failure to state a claim.”) (citing Fed. R. Evid. 201(f) (“Judicial notice may

be taken at any stage of the proceeding”)). “The court may judicially notice a fact that is not

subject to reasonable dispute because it: (1) is generally known within the trial court's territorial

jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” Fed. R. Civ. P. 201. See also Roane Cnty., Tennessee v. Jacobs

Eng'g Grp., Inc., No. 3:19-CV-206-TAV-HBG, 2020 WL 2025613, at *3 (E.D. Tenn. Apr. 27,

2020) (finding that the Court may take judicial notice of public records and records of

governmental bodies available on the internet without converting a motion to dismiss to a motion

for summary judgment).

         The facts that Plaintiff omitted on which the Court may take judicial notice include the

fact that just thirteen days after the incident giving rise to this Complaint, MPD terminated the

employment of all five Defendant Officers. 2 Shortly thereafter, on January 26, 2023, the five



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  https://www.memphistn.gov/news/statement-regarding-mpd-internal-investigation-and-
findings/ (last visited June 27, 2023).
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Defendant Officers were charged with second-degree murder, aggravated assault, aggravated

kidnapping, official misconduct and official oppression. 3 And on the following day, January 28,

2023, MPD disbanded the Scorpion Unit. 4

         C.      Plaintiff’s Allegations Against the City
         Based on these events, Plaintiff brings claims against several Defendants including the

City, Chief Davis in her Official Capacity, and Lt. Smith as an agent of the City. Specifically,

Plaintiff brings § 1983 Monell claims against the City and Chief Davis for allegedly (1) adopting

an official policy of disregarding and violating Memphians’ constitutional rights; (2) promoting a

custom of tolerance for the use of excessive force and unreasonable searches and seizures in

violation of the Fourth Amendment; (3) failing to train officers in the Scorpion Unit; and (4)

failing to supervise officers in the Scorpion Unit. Plaintiff also sues Lt. Smith individually5 and

as an agent of the City for allegedly intentionally and negligently inflicting emotional distress on

her after he allegedly falsely communicated with her regarding the encounter with the Defendant

Officers and Mr. Nichols’s physical condition.

III.     LAW AND ARGUMENT

         A.      Legal Standard
         Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Court must take all

well-pleaded allegations in the complaint as true and construe those allegations in a light most

favorable to the plaintiff. Erickson v. Pardus, 551 U.S. 89, 94 (2007) (citations omitted). “To

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678




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  See Indictment, attached as Exhibit A.
4
  See Public Statement, attached as Exhibit B.
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  The City of Memphis does not represent Lt. Smith in his individual capacity, and this Motion
does not address claims against Lt. Smith in his individual capacity.
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(2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “While legal

conclusions can provide the framework of a complaint, they must be supported by factual

allegations. When there are well-pleaded factual allegations, a court should assume their veracity

and then determine whether they plausibly give rise to an entitlement to relief.” Id. at 679.

         Rule 8 “demands more than an unadorned, the defendant-unlawfully-harmed me

accusation.” Iqbal, 556 U.S. at 678. While a complaint need not present detailed factual

allegations, to be cognizable it must provide more than “labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 545. The

factual allegations in the complaint “must be enough to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555 (citing authorities). In other words, “claims set

forth in a complaint must be plausible, rather than conceivable.” Id. at 570.

         A complaint must have a factual foundation, and the mere possibility “that a plaintiff

might later establish some set of undisclosed facts to support recovery” is insufficient to survive

a 12(b)(6) challenge. Twombly, 550 U.S. at 561 (internal quotation marks omitted). If the

plaintiff does not “nudge[] [her] claims across the line from conceivable to plausible, [her]

complaint must be dismissed.” Id.

         The Twombly plausibility standard consists of a “two-pronged approach.” Iqbal, 556

U.S. at 679. Under the first prong, the Court identifies allegations that, “because they are no

more than conclusions, are not entitled to the assumption of truth.” Id. The second prong

requires that “when there are well-pleaded factual allegations, a court should assume their

veracity and then determine whether they plausibly give rise to an entitlement to relief.” Id.

         “In the context of [§] 1983 municipal liability, district courts in the Sixth Circuit have

interpreted Iqbal’s standards strictly.” See, e.g., Epperson v. City of Humboldt, Tenn., 140 F.

Supp. 3d 676, 685 (W. D. Tenn. 2015) (quoting Hutchison v. Metro. Gov't of Nashville &

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Davidson Cty., 685 F. Supp. 2d 747, 751 (M.D. Tenn. 2010)).

         B.       ARGUMENT
                  1.    Plaintiff’s official capacity claim against Chief Davis and her claim
                        against Lt. Smith as an agent of the City should be dismissed because
                        both claims are redundant with the claims against the City.
         The Court should dismiss Plaintiff’s claim against Chief Davis “in her official capacity”

and her claim against Lt. Smith “as an agent of the City” because such claims are nothing more

than the claims made against the City itself. Because the City is also named as a defendant in

this lawsuit, the “official capacity” claim against Chief Davis and the claim against Lt. Smith “as

an agent of the City” are redundant and should be dismissed.

         A suit against a government official in his or her official capacity is “‘only another way

of pleading an action against an entity of which an officer is an agent.’” Kentucky v. Graham,

473 U.S. 159, 165–66 (1985) (quoting Monell, 436 U.S. at 690, n. 55). “As long as the

government entity receives notice and an opportunity to respond, an official-capacity suit is, in

all respects other than name, to be treated as a suit against the entity.” Id. at 166 (citing Brandon

v. Holt, 469 U.S. 464, 471–72 (1985)). When, as here, the entity is a named defendant, official

capacity claims against police officers acting as agents of the entity are “redundant” and

“superfluous.” Foster v. Michigan, 573 Fed. Appx. 377, 390 (6th Cir. 2014).

         Here, Plaintiff sued Chief Davis in her official capacity as the Chief of Police of the MPD

and Lt. Smith as an agent of the City. (See Compl., ECF No. 1, PageID 1.) Plaintiff also sued the

City. (Id.) Accordingly, Plaintiff’s claims against Chief Davis in her official capacity and Lt.

Smith as an agent of the City should be construed as claims against the City and, thus, dismissed

with prejudice.

                  2.    Plaintiff fails to plead sufficient facts to sustain her § 1983 claims
                        against the City.
         Plaintiff’s Monell claims against the City should be dismissed because she failed to plead


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sufficient facts to sustain those claims. To prevail on a claim against a municipality under §1983,

a plaintiff must establish both: (1) the deprivation of a constitutional right; and (2) the

municipality’s responsibility for that violation. Doe v. Claiborne Cnty., Tenn. By and Through

Claiborne Cnty. Bd. of Educ., 103 F.3d 495, 505–506 (6th Cir. 1996).

         It is well-settled that “a municipality cannot be held liable under § 1983 on a respondeat

superior basis.” Mhoon v. Metro. Gov’t of Nashville & Davidson Cnty., Tenn., No. 3:16-cv-

01751, 2016 WL 6250379, at *6 (M.D. Tenn. Oct. 26, 2016) (citing Thomas v. City of

Chattanooga, 398 F.3d 426, 432–33 (6th Cir. 2005)). Rather, municipal liability under § 1983

arises “when execution of a government’s policy or custom ... inflicts the injury of a

constitutional violation.” David v. City of Bellevue, Ohio, 706 F. App’x 847, 850 (6th Cir. 2017)

(quoting Monell, 436 U.S. at 694). “[T]he touchstone of ‘official policy’ is designed ‘to

distinguish acts of the municipality from acts of employees of the municipality, and thereby make

clear that municipal liability is limited to action for which the municipality is actually

responsible.’” City of St. Louis v. Praprotnik, 485 U.S. 112, 138 (1988) (quoting Pembaur v.

Cincinnati, 475 U.S. 469, 479–480 (1986)) (emphasis in original).

         The Sixth Circuit recognizes four avenues by which a plaintiff can prove the existence of

a municipality’s illegal policy or custom: “1) the municipality’s legislative enactments or official

agency policies; 2) actions taken by officials with final decision-making authority; 3) a policy of

inadequate training or supervision; or 4) a custom of tolerance or acquiescence of federal rights

violations.” Thomas, 398 F.3d at 429 (citations omitted).

         Here, Plaintiff attempts to bring Monell claims alleging that the City adopted an official

policy of disregard for citizen’s constitutional rights, promoted a custom of tolerance for

constitutional violations, and failed to train and supervise officers in the specialized units like the

Scorpion Unit. As explained below, all of these claims fail as a matter of law.

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                        a)      Plaintiff fails to state a claim that the City had an unlawful
                                official policy condoning the rogue Officer Defendants’
                                conduct.
         Plaintiff fails to point to an official policy authorizing the conduct alleged in the

Complaint, because no official policy could plausibly exist. “[I]n Monell and subsequent cases,

[the court has] required a plaintiff seeking to impose liability on a municipality under § 1983 to

identify a municipal “policy” or “custom” that caused the plaintiff’s injury.” Bd. of Cnty.

Comm'rs of Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 403 (1997) (citations omitted). “Locating

a ‘policy’ ensures that a municipality is held liable only for those deprivations resulting from the

decisions of its duly constituted legislative body or of those officials whose acts may fairly be

said to be those of the municipality.” Id. at 403-404. “To prevail on this theory under Monell,

Plaintiff must identify “formal rules or understandings—often but not always committed to

writing—that are intended to, and do, establish fixed plans of action to be followed under similar

circumstances consistently and over time.” Sanders v. City of Memphis, Tennessee, No.

221CV02585MSNCGC, 2022 WL 4665867, at *4 (W.D. Tenn. Sept. 30, 2022) (citation

omitted).

         Plaintiff “must also demonstrate that, through its deliberate conduct, the municipality was

the “moving force” behind the injury alleged. That is, a plaintiff must show that the municipal

action was taken with the requisite degree of culpability and must demonstrate a direct causal

link between the municipal action and the deprivation of federal rights.” Id. at 404. In other

words, “a plaintiff must identify the policy, connect the policy to the city itself and show that the

particular injury was incurred because of the execution of that policy.” Garner v. Memphis

Police Dep't, 8 F.3d 358, 364 (6th Cir. 1993) (citation and internal quotation marks omitted).

         Here, Plaintiff fails to plausibly identify any specific policy of the City, written or

otherwise, that authorized the Officer Defendants to act in the reprehensible and outrageous


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manner alleged in the Complaint. 6 Plaintiff did not point to any “formal rules of understandings”

which establish that the City instructed its officers to employ the behavior alleged under these

same—or any—circumstances “consistently and over time.” See Sanders, No.

221CV02585MSNCGC at *4.

         Instead, Plaintiff baldly asserts that Chief Davis “encouraged and authorized” the

Scorpion Unit to “disregard and violate the Constitutional and Fourth Amendment rights of

Memphis citizens . . . ” (Compl., ¶¶ 300, 301.) Plaintiff did not point to a specific policy or facts

which would show that the City encouraged or authorized any police officer to behave in such a

manner—let alone the manner described in the Complaint. (See id., ¶¶ 204-208.) Plaintiff

implausibly alleges that the City, through its Chief of Police, maintained an official policy of

authorizing officers to attack, assault, and use excessive force against a compliant individual, but

Plaintiff fails to identify the specific policy that required its officers to act with impunity and in

total disregard of established constitutional law. Such a policy does not exist.

         Instead, Plaintiff’s Complaint illustrates that Officer Defendants were not acting pursuant

to any policy—official or otherwise— but rather that the Officer Defendants acted outside their

duties as sworn police officers in brutally beating Mr. Nichols.

         Simply put, it defies logic to presume that any police department or police chief would

implement an official policy of authorizing its officers to unlawfully arrest and detain, assault,

and use excessive force against a compliant individual. See, e.g., Claiborne Cnty., Tenn. By &

Through Claiborne Cnty. Bd. of Educ., 103 F.3d at 508 (“[Plaintiff] does not claim that the

School Board had a custom of affirmatively condoning sexual abuse. Clearly, no municipality


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 Compare with Complaint at ¶¶ 86-107, Schaffer v. Chauvin, No. 0:20-cv-01577-SRN-TNL (D.
Minn. July 15, 2020). In Schaffer, which was filed by the same attorneys of record in this case
and related to the death of George Floyd, the “official policy claim” was based on Minneapolis
Police Department Policy 5-311, which authorized the use of neck restraints against individuals.
Here, no such official policy of MPD is challenged.
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could have such a policy.”) Thus, Plaintiff fails to plausibly identify any official policy of the

City that gave rise to the alleged injuries, and the policy-based Monell claim must be dismissed.

                        b)      Plaintiff fails to state a claim for an unlawful custom of
                                tolerance under Monell.
         Like the official policy allegations, Plaintiff fails to show how the City maintained a

custom of permitting the constitutional violations alleged in the Complaint. “[A] custom-of-

tolerance claim requires a showing that there was a pattern of inadequately investigating similar

claims.” Burgess v. Fischer, 735 F.3d 462, 478 (6th Cir. 2013). A “custom” for purposes of

Monell liability must “be so permanent and well settled as to constitute a custom or usage with

the force of law.” Monell, 436 U.S. at 691 (internal quotation marks and citation omitted); see

also Feliciano v. City of Cleveland, 988 F.2d 649, 655 (6th Cir. 1993), cert. denied, 510 U.S. 826

(1993). In turn, the notion of “law” must include “[d]eeply embedded traditional ways of

carrying out state policy.” Nashville, Chattanooga & St. Louis Ry. Co. v. Browning, 310 U.S.

362, 369 (1940). It must reflect a course of action deliberately chosen from among various

alternatives. City of Oklahoma v. Tuttle, 471 U.S. 808, 823 (1985). In short, a “custom” is a

“legal institution” not memorialized by written law. Feliciano, 988 F.2d at 655.

         Plaintiff alleges that the City “maintained a custom of tolerance for SCORPION Officers’

unreasonable search and seizure of individuals, use of excessive force, and the violation of the

Fourth Amendment prior to the violation of Tyre Nichols’ constitutional rights and death.”

(Compl., ¶ 314). Plaintiff further alleges that the custom “was so permanent, well-settled,

widespread, and commonly accepted within the Memphis Police Department as to constitute and

carry with it the force of law.” (Compl., ¶ 315)

         To support this claim, Plaintiff pleads allegations related to other alleged altercations

with the Scorpion Unit, (Id., ¶ 105), but fails to plead if or when the City or Chief Davis was put

on notice of the specific incidents. Instead, Plaintiff alleges that “additional instances” were

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brought to the attention of City leaders on December 6, 2022 by virtue of comments made during

a City Council meeting, one month before Mr. Nichols’ encounter, with no details as to these

“additional instances” except for the fact that these “additional instances” pre-dated the

formation of the Scorpion Unit. (See id., ¶ 106, fn. 3). Notably, these “additional instances” also

pre-date Chief Davis’s tenure as Chief of Police. (See id., ¶ 70). As such, Plaintiff’s allegations

are insufficient to show a permanent and wide-spread custom of tolerance or a pattern of

inadequate investigation similar claims against the Scorpion Unit.

         Plaintiff further asserts that despite the purported warning of incidents that pre-dated the

formation of the Scorpion Unit, (See id., ¶ 106, fn. 3), “the City of Memphis and Chief Davis did

nothing to address the SCORPION Unit’s tactics and practices and turned a blind eye.” (Id., ¶

109). To state a municipal liability claim under an “custom of tolerance or “inaction” theory,

Plaintiff must establish: (1) the existence of a clear and persistent pattern of misconduct by the

Scorpion Unit; (2) notice or constructive notice on the part of the City of that misconduct; (3)

the City’s tacit approval of the unconstitutional conduct, such that its deliberate indifference in

its failure to act can be said to amount to an official policy of inaction; and (4) that the City’s

custom was the “moving force” or direct causal link in Mr. Nichols’ constitutional deprivation.

See Sanders, No. 221CV02585MSNCGC at *3 (citations and quotations omitted).

         Plaintiff fails to allege a clear and persistent pattern of misconduct as to the Scorpion

Unit or notice thereof on the City or Chief Davis. Plaintiff did not and cannot plead sufficient

facts illustrating a “tacit approval of unconstitutional conduct” such that the City’s alleged

deliberate indifference in its alleged failure to act can be said to amount to an official policy of

inaction. As Paragraph 105 illustrates, the only alleged Scorpion Unit encounter that was

allegedly reported to internal affairs occurred a mere three days before the Scorpion Unit’s

encounter with Mr. Nichols—a far cry from illustrating a clear and persistent pattern of

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inadequately investigating claims of misconduct as to the Scorpion Unit. See Sanders, No.

221CV02585MSNCGC at *3.

         The allegation of purported warnings of police misconduct on December 6, 2022 fares no

better (Compl., ¶¶ 106-109) as these alleged incidents pre-date the formation of the Scorpion

Unit and are, therefore, insufficient to establish notice or constructive notice of a clear and

persistent pattern of inadequately investigation claims of misconduct as to the Scorpion Unit.

         Accordingly, Plaintiff failed to sufficiently plead facts to support a claim for custom of

tolerance Monell claim against the City Defendants.

                         c)      Plaintiff fails to sufficiently plead a failure to train claim.

         Plaintiff fails to sufficiently plead that MPD’s training program was inadequate. In fact,

Plaintiff fails to make any specific allegations regarding the MPD’s training program at all other

than baseless conclusions that the City did not train its officers in Fourth Amendment-related

issues. (See Compl., ¶ 134). Instead, Plaintiff focuses on how she believes the Defendant

Officers committed other violations and that MPD implemented lax hiring standards. These

allegations do not give rise to a failure to train claim under Monell.

         It is well settled that “[a] municipality’s culpability for a deprivation of rights is at its

most tenuous where a claim turns on a failure to train.” Connick v. Thompson, 563 U.S. 51, 60

(2011). To establish municipal liability on this basis, a plaintiff must show “‘(1) the training

program was inadequate to the task the officer must perform, (2) the inadequacy is a result of the

municipality’s deliberate indifference, and (3) the inadequacy is closely related to or actually

caused the plaintiff’s injury.’” Epperson, 140 F. Supp. 3d at 684 (citation and quotations

omitted). “Deliberate indifference requires a showing of ‘prior instances of unconstitutional

conduct demonstrating that the municipality has ignored a history of abuse and was clearly on

notice that the training in this particular area was deficient and likely to cause injury.’” Id.

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(quoting Bonner–Turner v. City of Ecorse, 627 Fed. Appx. 400, 414, 2015 WL 5332465, at *13

(6th Cir. 2015).

         Without providing any specific details, Plaintiff concludes that the City failed to train its

officers on subject matters that are so basic and fundamental, even the Complaint characterizes

them as those “constitutional bounds of their police duties.” (Compl., ¶ 328.) Plaintiff baldly

states that the City failed to offer specialized training on Terry stops; reasonable suspicion;

probable cause; traffic stops; foot pursuits; the Fourth Amendment; and the use of force, batons,

tasers, pepper spray, and deadly force. Plaintiff ultimately concludes that the City was

deliberately indifferent to the need to train its officers and that Mr. Nichols’s death was a “highly

predictable consequence” of the City’s failure to train. (Id., ¶¶ 339, 344.)

         This is not enough to establish a failure to train claim. A recent case from this Court is

instructive. In Boddy v. City of Memphis, Tennessee, the Sixth Circuit rejected similar conclusory

allegations. No. 22-5259, 2022 WL 12258977, at *3 (6th Cir. 2022). There, the Court described

the complaint as “filled with conclusory assertions that the City does not train or supervise its

police officers and sanctions a wide variety of illegal police practices, ranging from the use of

excessive force to the failure to discharge officers who have repeatedly used excessive force.”

Id. The court concluded that the complaint was “bereft, however, of any factual allegations that

could plausibly support these sweeping assertions. [Plaintiff] does not allege a single fact related

to the training the City provides its police officers, any prior incidents involving comparable

uses of force by [the officers involved], or anything else that would plausibly suggest that the

City maintained a policy or custom that contributed to the alleged deprivations of [Plaintiff’s]

constitutional rights.” Id. (emphasis added); see also Sweat v. Butler, 90 F. Supp. 3d 773, 782–

83 (W.D. Tenn. 2015) (granting motion to dismiss on failure to train allegations where the

plaintiff focused on the officer’s prior work history, alleged misconduct, and a failure to

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discipline given that “the allegations [did] not make a failure to train claim plausible because

none of them concern[ed] training practices or a lack thereof.”) So too here.

         Significantly, Plaintiff also fails to connect how any level of training could prevent five

rogue officers from punching, kicking and striking with a baton an individual for seven straight

minutes, as alleged in the Complaint. The only plausible inference one can make from Plaintiff’s

allegations is that the Officer Defendants were acting outside the bounds of their training as

MPD officers. No amount of training or policies could have prevented five rogue officers from

acting in this manner—outside the scope of their employment and in contravention of Mr.

Nichols’s rights in such a manner as Plaintiff alleges.

         For these reasons, Plaintiff’s failure-to-train claim must be dismissed.

                        d)      Plaintiff fails to sufficiently plead a failure to supervise claim.
         Plaintiff’s failure to supervise claim fares no better. The legal standards for a claim of

inadequate supervision and one of inadequate training are essentially the same. Okolo v. Metro.

Gov. of Nashville, 892 F. Supp. 2d 931, 943 (M.D. Tenn. 2012). Again, Plaintiff broadly

concludes that MPD failed to sufficiently supervise the Scorpion Unit.

         To state a municipal liability claim under an “inaction” theory, such as failure to

supervise, Plaintiff must establish: (1) the existence of a clear and persistent pattern of

misconduct by the MPD officers; (2) notice or constructive notice on the part of the City of that

misconduct; (3) the City’s tacit approval of the unconstitutional conduct, such that its deliberate

indifference in its failure to act can be said to amount to an official policy of inaction; and (4)

that the City’s custom was the “moving force” or direct causal link in plaintiff’s constitutional

deprivation. See Claiborne Cty., Tenn. By & Through Claiborne Cty. Bd. of Educ., 103 F.3d at

508. To establish deliberate indifference, Plaintiff must show prior instances of unconstitutional

conduct demonstrating that the County has ignored a history of abuse and was clearly on notice


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that the [supervision] in this particular area was deficient and likely to cause injury.” Miller v.

Sanilac County, 606 F.3d 240, 255 (6th Cir. 2010).

         As an initial matter, Plaintiff’s claim that MPD maintained a widespread practice of

failing to supervise members of the Scorpion Unit is undercut by the fact that Plaintiff

acknowledges that Lt. Smith, a supervisor of the Scorpion Unit, arrived on the scene on the night

of the incident. (See Compl., ¶ 255.) Even assuming arguendo that Lt. Smith’s supervision was

insufficient on that day, that one instance is not enough to establish the “existence of a clear and

persistent pattern of misconduct by the [supervisors].” See Claiborne Cty., Tenn. By & Through

Claiborne Cty. Bd. of Educ., 103 F.3d at 508.

         For the failure to supervise claim, Plaintiff offers only conclusory statements that the City

failed to supervise officers in specialized units. (Id., ¶¶ 350–76.) Further, Plaintiff alleges no

comparable incidents that would have put the City on notice of a failure to supervise. Plaintiff’s

conclusory allegations that MPD failed to provide supervision do not meet the threshold

plausibility standard and should be dismissed.

                 3.     Plaintiff’s state law claims against the City for intentional infliction of
                        emotional distress and fraudulent misrepresentation should be
                        dismissed under Tennessee’s Governmental Tort Liability Act.
         Plaintiff’s intentional tort claims are barred by Tennessee’s Governmental Tort Liability

Act (“the GTLA”). “State law claims against governmental entities and their employees are

governed by the GTLA.” Epperson, 140 F. Supp. 3d at 689 (citing Tenn. Code Ann. § 29-20-

101). The GTLA waives common law sovereign immunity and permits litigants to sue

municipalities for injuries sounding in negligence. Partee v. City of Memphis, 449 F. App’x 444,

447 (6th Cir. 2011) (citing Tenn. Code Ann. § 29–20–205). However, “statutes which waive

immunity of the governmental entity from suit are to be construed strictly in favor of the

sovereign.” Siler v. Scott, 591 S.W.3d 84, 104 (Tenn. Ct. App. 2019) (quoting Hughes v. Metro.


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Gov't of Nashville & Davidson Cty., 340 S.W.3d 352, 368–69 (Tenn. 2011)). All claims for

damages brought under the GTLA must strictly comply with the GTLA. Limbaugh v. Coffee

Medical Ctr., 59 S.W.3d 73, 82 (Tenn. 2001).

         The GTLA contains a list of specific exceptions for which municipalities such as the City

retain immunity. See Tenn. Code Ann. § 29-20 205(1)- (10). One is the “intentional tort

exception,” which bars claims for injuries arising out of “[f]alse imprisonment pursuant to a

mittimus from a court, false arrest, malicious prosecution, intentional trespass, abuse of process,

libel, slander, deceit, interference with contract rights, infliction of mental anguish, invasion of

right of privacy, or civil rights.” Tenn. Code Ann. § 29-20-205(2) (emphasis added); Limbaugh,

59 S.W.3d at 81. The reference to “civil rights” has been interpreted to include claims arising

under § 1983. Partee, 449 F. App’x 444, 448 (citing Johnson v. City of Memphis, 617 F.3d 864,

872 (6th Cir. 2010)).

         Another exception is the “misrepresentation exception,” which bars claims for injuries

arising out of “[m]isrepresentation by an employee whether or not such is negligent or

intentional.” Tenn. Code Ann. § 29-20-205(6); Justice v. Anderson County, 955 S.W.2d 613

(Tenn. Ct. App. 1997); Barnes v. Bradley County Mem. Hosp., 161 Fed. App'x 555 (6th. Cir.

2006).

                        a)      Plaintiff’s claim against the City for intentional infliction of
                                emotional distress is barred under § 29-20-205(2) of the GTLA.
         Plaintiff’s intentional infliction of emotional distress claim against the City is expressly

barred by the “infliction of mental anguish” category of the intentional tort exception under

Tenn. Code Ann. § 29-20-205(2). Plaintiff alleges that Defendant Lt. Smith acted “with the

intent to deceive, lie to, and manipulate” Plaintiff, and that he “intentionally lied to and withheld

information” from Plaintiff on January 7, 2023. (Compl., ¶¶ 835, 837.) The City retains

immunity from all such claims under the GTLA. See Tenn. Code Ann. § 29-20-205(2);

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Dillingham v. Millsaps, 809 F. Supp. 2d 820, 853 (E.D. Tenn. 2011); Stapp v. Wall, No. 3:08-cv-

0101, 2008 WL 11510613, at *7 (M.D. Tenn. Oct. 6, 2008) (“[T]he reference to ‘infliction of

mental anguish’ in the GTLA applies . . . to intentional infliction of emotional distress

[claims].”) (citing Sallee v. Barrett, 171 S.W.3d 822 (Tenn. 2005)).

         Additionally, Plaintiff’s intentional infliction of emotional distress claim against the City

is barred by the “deceit” category of the intentional tort exception. See Tenn. Code Ann. § 29-20-

205(2) (“Immunity from suit of all governmental entities is removed … except if the injury

arises out of … deceit …”.). Thus, Plaintiff’s intentional infliction of emotional distress claim

against the City must be dismissed.

                        b)      Plaintiff’s claim of fraudulent misrepresentation is also barred
                                by the GTLA.
         The Court should dismiss Plaintiff’s fraudulent misrepresentation claim against the City

because it is barred under the “misrepresentation exception” in § 29-20-205(6) of the GTLA.

         Here, Plaintiff’s Complaint alleges that Lt. Smith knowingly made false representations to

Plaintiff on January 7, 2023 regarding the condition of her son. (See Compl, ¶¶ 859-870). Under

the GTLA, however the City is immune from claims for injuries arising from “misrepresentation

by an employee whether or not such is negligent or intentional.” Tenn. Code Ann. § 29–20–205(6).

Since it is alleged that Lt. Smith was acting as an agent of the City when he allegedly made the

fraudulent misrepresentations, the City is immune from any such fraudulent misrepresentations

under Tenn. Code Ann. § 29–20–205(6).

                        c)      Plaintiff’s negligent infliction of emotional distress claim is a
                                fraudulent misrepresentation claim framed as a claim for
                                negligent infliction of emotional distress.
         The Court should dismiss Plaintiff’s claim for negligent infliction of emotional distress

because it is essentially a claim for fraudulent misrepresentation disguised as a claim for

negligent infliction of emotional distress. Plaintiff’s negligent infliction of emotional distress


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claim against Lt. Smith as an agent of the City of Memphis is based on the same alleged

misrepresentations and lies to Ms. Wells on January 7, 2023 that gave rise to her fraudulent

misrepresentation claim. (Compl., ¶¶ 255-282, 849.) As such, it is barred by the

misrepresentation exception contained in Tenn. Code Ann. § 29-20-205(6).

         Plaintiff cannot circumvent the immunity provided by the GTLA immunity by couching

her misrepresentation claim as one of negligent infliction of emotional distress. To support a

claim for negligent infliction of emotional distress, Plaintiff must adequately allege that

“defendant's negligence ‘caused a serious or severe emotional injury,’” Brown v. Regions

Bank, No. 2:19-CV-2356-JPM-TMP, 2019 WL 13297196, at *4 (W.D. Tenn. Nov. 14, 2019),

not that defendant’s negligent misrepresentation caused her injury. This is so because the City

is immune from claims for injuries arising from “misrepresentation by an employee whether or

not such is negligent or intentional.” Tenn. Code Ann. § 29–20–205(6) (emphasis added).

Accordingly, Plaintiff’s negligent infliction of emotional distress claim must be dismissed.

                                          CONCLUSION

         For these reasons, the City respectfully requests this Court to grant its Motion to Dismiss

in its entirety.

                                                       Respectfully submitted,

                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.


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                                                       Attorneys for Defendant City of Memphis,
                                                       Chief Cerelyn Davis in her Official
                                                       Capacity, and Dewayne Smith as Agent of
                                                       the City of Memphis




                                  CERTIFICATE OF SERVICE

         I, Bruce McMullen, hereby certify that on July 7, 2023, I electronically filed the foregoing

with the clerk of the court by using the CM/ECF system, and that upon filing, such system will

serve a copy of the foregoing upon all counsel of record in this action.


                                                       s/ Bruce McMullen
                                                       Bruce McMullen




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